     Case 2:07-cr-02071-WFN    ECF No. 89   filed 07/25/07   PageID.147 Page 1 of 1




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3
                              UNITED STATES DISTRICT COURT
4
                          EASTERN DISTRICT OF WASHINGTON
5
6     UNITED STATES OF AMERICA,                )
                                               )     No. Cr-07-2071-WFN-4
7                      Plaintiff,              )
                                               )     ORDER DENYING DEFENDANT’S
8     v.                                       )     MOTION FOR CONDITIONS OF
                                               )     RELEASE (Ct. Rec. 77)
9     FRANCISCO VILLALOBOS MENDOZA,            )
                                               )
10                     Defendant.              )
                                               )
11
           The Court, having taken the Defendant’s motion for conditions
12
     of release under advisement following argument at the July 16, 2007
13
     bail review hearing, makes the following findings;
14
           The Court found there remains an absence of condition or
15
     conditions that could be imposed that would reasonably assure this
16
     defendant's presence at trial or further court proceedings.
17
           The Defendant’s motion for conditions of release is denied.
18
     (Ct. Rec. 77) The defendant shall continue to be held in the custody
19
     of the U.S. Marshal.
20
           IT IS SO ORDERED.
21
           DATED this 25th day of July, 2007.
22
23
                                                   s/Cynthia Imbrogno
24                                                   CYNTHIA IMBROGNO
                                                   United States Magistrate Judge
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28
     ORDER DENYING DEFENDANT’S MOTION
     FOR CONDITIONS OF RELEASE
